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                       UNITED STATES BANKRUPTCY COURT
                                    Southern District ofNew York

  In re    Lehman Brothers Holdings, Inc.                          Case No. 08-13555 (JMP)

                PARTIAL TRANSFER OF CLAIM OTHER THAN FOR SECURITY

  A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
  Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of
  the transfer, other than for security, of the claim referenced in this evidence and notice.

  Bank Julius Baer & Co. Ltd.                            Credit Suisse AG
            Name ofTransferee                                       Name ofTransferor

  Name and Address where notices to                      Court Claim# if known)        55829
  transferee should be sent:                             Amount of     Note: This is a Partial
                                                         Claim:        Transfer of Claim. See
  Patrik Roos                                                          Attached Evidence of
  Bank Julius Baer & Co. Ltd.                                          Transfer of Claim for
  Bahnhofstrasse 36                                                    Details.
  8010 Zurich, Switzerland                               Date Claim     10/29/2009
                                                         Filed:

  Phone: + 41 58 887 7336                                 Phone:
  Email: patrik.roos@juliusbaer.com
  Last Four Digits of Acct #: _n!_a_ __                   Last Four Digits of Acct #:       n/a

  Name and Address where transferee
  payments should be sent (if different
  from above):
  Phone:
  Last Four Digits of Acct #:

  I declare under penalty of peljury that the information provided in this notice is true and correct
  to the best of my knowledge and belief.

  By:                                                                   Date:



     enalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years,
                                   or both. 18 U.S.C. §§ 152 & 3571.
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      CREDIT SUISSE


                                     EVIDENCE OF TRANSFER OF CLAIM


          TO:      THE DEBTOR AND THE BANKRUPTCY COURT


                  For value receivw, lhe adec.tuacy and sufficiency of which are hereby acknowledged,
          CREDIT SUISSE AG ("Transferor'') unconditionally and irrevocably transferred to BANK
          JULIUS BAER & CO. LTD. ("Transferee") all of its right, title, interest. claims and causes of
          action in and to or arising under or in connection with the portion of its claim (Claim No.
          55829), the nominal amounts and relating securities with International Securities Identification
          Number listed on Schedule I hereto agairu;l Lehman Brolher.i Holdings, Inc. (the "lli:h!w:"),
          Chapter 11 Case No.: 08-13555 (JMP) (Jointly Administered), United States Bankruptcy Court
          for the Southern District of New York (the "Bankruptcy Court").

                 Transferor hereby waives any objection to the transfer of the claim to Transferee on the
          books and records of the Debtor and the Bankruptcy Court and hereby waives to the fullest
          extent permitted by law any notice or risht to a hearing as may be imposed by Rule 3001 of the
          Federal Rules of Bankruptcy Procedure, the Bankruptcy Code, applicable local bankruptcy rules
          or applicable law. Transferor acknowledges and understands, and hereby stipulates, that an
          order of the Bankruptcy Court may be entered without further notice to Transferor regarding the
          transfer of the foregoing claim and recognizing the Transferee as the sole owner and holder of
          the claim. Transferor further directs the Debtor, the Bankruptcy Court and all other interested
          parties that all further notices relating to the claim. and all payments or distributions of money or
          property in respect of claim, shall be delivered or made to the Transferee.

              IN WITNESS WHEREOF, this EVIDENCE OF TRANSFER OF CLAIM IS
          EXECUTED ON DECEMBER 22, 201 1.


         CREDIT SUISSE AG


         By: -;/    y-
         Name: Shaminda Yaddehioe
         Title:       A381785

         jly.~~
          Name: Adrian Binder
          Title: r'\315653




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  CREDIT SUISSE


                                             SCHEDULE I

               Lehman Programs Securities Related to Transferred Portion of Claim:


   I SIN           Court Claim II   Date Claim Filed   bsuer                           Currency aad
                                                                                       nominal amount or
                                                                                       Units
   ANN52 14A3502   55829            October 29, 2009   Lehman Brothers Securities NV   USD
                                                                                       500 units
